    Case 6:18-cr-00014-JRH-CLR Document 320 Filed 12/07/18 Page 1 of 1


                                                                             r".C.U
                                                                    U.S.Di
                 IN THE UNITED STATES DISTRICT COURT                  i^MV^u'liUHOIV.

                 FOR THE SOUTHERN DISTRICT OF GEORGIA                            Pf^ 2; 52

                             STATESBORO DIVISION                v'tLnii.
                                                                     SO.DiginBF^
THE UNITED STATES OF AMERICA,

                Plaintiff,

                 V.                               6:18CR14


PALMER ALTON BAZEMORE, III,

                Defendant.




                                  ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised    in   the    parties'   motions    have   been     resolved     by

agreement.     Therefore,     a   hearing    in    this      case    is      deemed

unnecessary.    All motions are dismissed.



    SO ORDERED, this              day of December, 2018.



                                         ED STATES MAGISTRATE JUDGE
                                  S0UTHERN DISTRICT OF GEORGIA
